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IN THE UNITED STATES DISTRICT COURT '

FOR TI-IE wEsTERN DISTRICT oF TENNESSEE 0515UG l | ph w 2b
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LON ADELBERT PIERCE,
Petitioner,

Vs. No. 05-2250-D/V

DAVID MILLS,

Respondent.

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ORDER TRANSFERRING CASE PURSUANT TO 28 U.S.C. § 2241(€1)

 

Petitioner Lon Adelbert Pierce, Tennessee Department of
Correction (“TDOC”) prisoner number 304581, an inmate at the West
Tennessee State Penitentiary in Henning, Tennessee, filed a p;g §§
petition pursuant to 28 U.S.C. § 2254 on April 1, 2005, along with
an application seeking leave to proceed in forma pauperis. The
Court issued an order on April 12, 2005 denying leave to proceed in

forma pauperis and directing the petitioner to remit the habeas

 

filing fee within thirty days. The petitioner's copy of that order
was returned by the post office on May 3, 2005 because the mailing
envelope did not include the prisoner's TDOC number. The Court
issued an order on May 12, 2005 correcting the docket, directing
the Clerk to mail the petitioner another copy of the April 12, 2005

order in a properly addressed envelope, and extending the time for

This document entered on the docket sheet in compliance
with ama 58 and/or 79(3) FHCP on 3'/(0'05

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compliance with the previous order. Petitioner paid the habeas

filing fee on May 26, 2005.

Twenty-eight U.S.C. § 2241(d) provides:

Where an application for a writ of habeas corpus is
made by' a person in custody' under the judgment and
sentence of a State court of a State which contains two
or more Federal judicial districts, the application may
be filed in the district court for the district wherein
such person is in custody or in the district court for
the district within which the State court was held which
convicted and sentenced him and each of such district
courts shall have concurrent jurisdiction to entertain
the application. The district court for the district
wherein such an application is filed in the exercise of
its discretion and in furtherance of justice may transfer

the application to the other district court for hearing
and determination.

It is the practice of the federal district courts in Tennessee that
all § 2254 petitions are to be heard in the district in which the
conviction was obtained.

In this petition, Pierce is challenging a conviction and
sentence obtained in the Benton County Circuit Court. Benton County
is in the Eastern Division of the Western District of Tennessee.
28 U.S.C. § 123(C)(l).

Therefore, it is hereby ORDERED, pursuant to 28 U.S.C. §§
1406(a) and 2241(d), that this case is TRANSFERRED, forthwith, to
the Eastern Division of the Western District of Tennessee.

IT IS SO ORDERED this [[lL` day of August, 2005.

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ITED STATES DISTRICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CV-02250 Was distributed by faX, mail, or direct printing on
August 16, 2005 to the parties listed.

 

Lon Adelbert Pierce
30458]

P.O. Box l 150
Henning, TN 38041

Honorable Bernice Donald
US DISTRICT COURT

